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                                                                                         Pryor & Mandelup, L.L.P.
                                                                             Attorneys for Robert L. Pryor, Trustee
                                                                                              Mark E. Cohen, Esq.
                                                                                            675 Old Country Road
                                                                                      Westbury, New York 11590
                                                                                                   (516) 997-0999

                                                                     Hearing Date: December 16, 2021 at 10:00 a.m.
                                                                     Objection Date: December 9, 2021 at 4:00 p.m.


UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re:                                                              Chapter 7

NEDRA K. AMBROSE a/k/a                                              Case No.: 8-19-71407-las
NEDRA K. BELLE,

                                    Debtor.
--------------------------------------------------------X

                                          NOTICE OF MOTION

        PLEASE TAKE NOTICE, that upon the application (the “Application”) of Robert L.

Pryor, Chapter 7 Trustee (the “Trustee”) of the Bankruptcy Estate of Nedra K. Ambrose a/k/a

Nedra K. Belle (the “Debtor”), the debtor in the above-captioned Chapter 7 case, by his attorneys,

Pryor & Mandelup, L.L.P., dated November 19, 2021, a hearing will be held on December 16,

2021 at 10:00a.m. (the “Hearing Date”), or as soon thereafter as counsel can be heard, before

Honorable Louis A. Scarcella, United States Bankruptcy Judge, at the Courthouse located at the

U.S. Bankruptcy Court, 290 Federal Plaza, Courtroom 970, Central Islip, New York 11722, for

entry of an Order pursuant to 11 U.S.C. §§ 105, and 363(b), (f), and (h), Rules 2002 and 6004 of the

Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”), and E.D.N.Y. LBR 6004-1 (i),

authorizing and approving the sale (the “Sale”) of the real property known as 497 East 94th Street,

Brooklyn, New York 11212, Block 4691, Lot 53 (the “Real Property”) pursuant to a Residential

Contract of Sale, made as of November 10, 2021 (the “Contract of Sale”), between the Trustee, as

seller, and 497 East 94th Street LLC (“Purchaser”), as purchaser, free and clear of all liens, claims,


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and encumbrances (collectively “Liens”), with such Liens, if any, to attach to the net proceeds of the

Sale to the same extent, priority, and validity as existed as of the Debtor’s filing of her Chapter 13

Petition in this case on February 25, 2019, “as is”, “where is”, “with all faults,” with no representations

or warranties of any kind or nature whatsoever, except as to uninsurable title, (ii) making findings

regarding the propriety of the Sale, (iii) granting relief related to the Sale, including protection for the

Purchaser under 11 U.S.C. § 363(m), (iv) waiving the 14 day stay of Bankruptcy Rule 6004(h), and

(v) granting the Trustee such other and further relief as this Court deems just and proper.

        PLEASE TAKE FURTHER NOTICE that pursuant to E.D.N.Y. LBR 9006-1(a), any

objection or response (the “Objections”) to the Application must be made in writing, must state

the standing of the objectant, state with particularity the grounds for the objection, shall conform

to the Federal Rules of Bankruptcy Procedure and Local Rules of the Bankruptcy Court, and

shall be filed with the Bankruptcy Court electronically in accordance with General Order 559.

(General Order 559 and the User’s Manual for the Electronic Case Filing System can be found at

www.nyeb.uscourts.gov, the official Website of the Bankruptcy Court), by registered uses of the

Bankruptcy Court’s case filing system, and by all other parties in interest on 3.5 inch diskette,

CD or DVD preferably in Portable Document Format (PDF), Microsoft Word or any other

Windows based word processing format (with a hard copy delivered directly to the Chambers of

the Honorable Alan S. Trust at the above address), and must be served in accordance with

General Order 559 upon: (i) Pryor & Mandelup, L.L.P., Counsel to the Trustee, 675 Old Country

Road, Westbury, NY 11590, Attention: Mark E. Cohen, Esq., and (ii) the Office of the United

States Trustee, 560 Federal Plaza, Central Islip, NY 11722, so as to be filed and actually received

no later than December 9, 2021 at 4:00p.m. on that day (the “Objection Date’).

        PLEASE TAKE FURTHER NOTICE, that if no objections are received by the



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Objection Date, the relief requested in the Application may be granted without a hearing.

Dated: Westbury, New York
       November 19, 2021                    PRYOR & MANDELUP, L.L.P.
                                            Attorneys for Chapter 7 Trustee

                                            By: s/Mark E. Cohen, Esq.
                                                Mark E. Cohen, Esq.
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